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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------- X

  GOVERNMENT EMPLOYEES INSURANCE
  COMPANY, GEICO INDEMNITY COMPANY,                ORDER ADOPTING IN
  GEICO GENERAL INSURANCE COMPANY, and             PART AND MODIFYING IN
  GEICO CASUALTY COMPANY,                          PART REPORT
                                                   AND RECOMMENDATION
                         Plaintiffs,
                                                   12-CV-2157 (KAM)(VMS)
       -against-

  LI-ELLE SERVICE, INC., JOHN DOES 1-5,

                         Defendants.

  -------------------------------------X

  MATSUMOTO, United States District Judge:

              On May 18, 2012, Government Employees Insurance

  Company, GEICO Indemnity Company, GEICO General Insurance

  Company, and GEICO Casualty Company, all Maryland corporations

  with a principal place of business in that state, (“plaintiffs”),

  filed the instant action against defendants Li-Elle Service,

  Inc., a New York corporation, (“Li-Elle”), and John Does 1-5, Li-

  Elle’s principals and citizens of New York (collectively,

  “defendants”).    (See ECF No. 1, Compl.)      On June 21, 2012,

  plaintiffs filed an Amended Complaint (“Am. Compl.”) against

  defendants, alleging that defendants were involved in schemes to

  submit fraudulent claims seeking payment for durable medical

  equipment (“DME”) and orthotic devices purportedly provided to

  individuals eligible for insurance coverage under GEICO insurance

  policies.   (See ECF No. 4, Am. Compl. ¶ 1.)        In the amended
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  complaint, plaintiffs seek a declaratory judgment pursuant to 28

  U.S.C. §§ 2201 and 2202, and raise claims of common law fraud and

  unjust enrichment for which they seek damages.          (See Id. ¶¶ 50-

  66.)   Plaintiffs seek a declaration that they are not legally

  obligated to pay outstanding fraudulent claims submitted by

  defendants.    (Id. ¶ 2.)    Plaintiffs also seek to recover monies

  paid out on allegedly fraudulent claims because of defendants’

  alleged fraudulent schemes, plus interest.         (Id. ¶ 1.)

             Li-Elle failed to timely answer or otherwise respond to

  this action.    Accordingly, plaintiffs filed a request for a

  certificate of default on August 6, 2012. (See ECF No. 6, Req.

  for Cert. of Def.)     The Clerk of the Court issued an entry of

  default against Li-Elle that same day.        (ECF No. 7, Clerk’s Entry

  of Default.)    Plaintiffs thereafter filed a motion for default

  judgment as to Li-Elle on August 8, 2012.         (ECF No. 8, Notice of

  Mot. for Def. J.)     On August 29, 2012, the court referred

  plaintiffs’ motion to Magistrate Judge Vera M. Scanlon for a

  Report and Recommendation.      (Order Referring Mot., Aug. 29,

  2012.)

                                  DISCUSSION

             Presently before the court is Judge Scanlon’s Report

  and Recommendation of February 11, 2013.         (ECF No. 15, R&R.)     The

  Report and Recommendation notified the parties of the right to

  file written objections no later than February 28, 2012.           (Id. at



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  23.)   A copy of Judge Scanlon’s Report and Recommendation was

  mailed to Li-Elle on February 11, 2013.        (See R&R at 23.)     To

  date, no objections to the Report and Recommendation have been

  filed.   (See generally Docket No. 12-CV-2157.)

             A district court reviews those portions of a Report and

  Recommendation to which a party has timely objected under a de

  novo standard of review and “may accept, reject, or modify, in

  whole or in part, the findings or recommendations . . .”           28

  U.S.C. § 636(b)(1)(C).      However, where no objections to the

  Report and Recommendation have been filed, the district court

  “need only satisfy itself that that there is no clear error on

  the face of the record.”      Urena v. New York, 160 F. Supp. 2d 606,

  609-10 (S.D.N.Y. 2001) (quoting Nelson v. Smith, 618 F. Supp.

  1186, 1189 (S.D.N.Y. 1985)).

             Upon a careful review of the record and Judge Scanlon’s

  well-reasoned and thorough Report and Recommendation, the court

  hereby adopts in part and modifies in part the Report and

  Recommendation.    The court adopts Judge Scanlon’s Report and

  Recommendation as the opinion of the court in all respects,

  except for the calculation of plaintiffs’ interest award, and the

  recommendation that plaintiffs’ request for a declaratory

  judgment be granted.     (See R&R at 22-23.)

             As noted by Judge Scanlon, plaintiffs seek interest on

  monies fraudulently paid to Li-Elle from January 1st of the year



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  following payment by plaintiffs, rather than from the earlier

  exact date on which payment was made to Li-Elle.              (See R&R at 22

  n.4.)   Li-Elle is alleged to have begun the instant fraud in June

  of 2007.    (Am. Compl. ¶ 26; R&R at 3.)          Therefore, the earliest

  date on which plaintiffs are entitled to interest is January 1,

  2008.   However, the fourth “Time in years” horizontal row in the

  chart located on page twenty-two (22) of the Report and

  Recommendation mistakenly calculates plaintiffs’ accrued interest

  as of January 1, 2007, instead of January 1, 2008.               (R&R at 22.)

  Therefore, the interest owed by Li-Elle for each year of the

  fraud since 2008, instead of 2007, should be multiplied by one

  fewer year than is noted in the “Time in years” row of the chart

  in the Report and Recommendation.            In addition to subtracting one

  year from each figure in the “Time in years” row, the court has

  also added .175 years to each figure, which represents the 17.5%

  of one year which has elapsed between January 1, 2013, and the

  date of this order, March 6, 2013.1           Thus, plaintiffs’ interest

  award is modified as reflected in the chart below.




              1
                  64 days from January 1, 2013, to March 6, 2013 ÷ 365 days per
  year = .175%.


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  Billing Year         2007         2008              2009             2010          Total Interest
                                                                                     on Payments
                                                                                     until March 6,
                                                                                     2013

  Paid to Li-Elle      $25,243.10   $232,682.83       $3,564.56        $722.55
  Service, Inc.

  Rate of interest     .09          .09               .09              .09
  per year



  Interest per Year    $2,271.87    $20,941.45        $320.81          $65.02

  Time in years        5.175        4.175             3.175            2.175



  Interest until       $11,756.93   $87,430.55        $1,018.57        $141.42       $100,347.47
  March 6, 2013


                      Judge Scanlon also recommends that the court grant

  plaintiffs’ motion for a declaratory judgment that plaintiffs are

  not obligated to pay the outstanding unpaid claims to defendant

  Li-Elle in the amount of $204,021.50.                           (R&R at 19, 23.)     As Judge

  Scanlon notes, “[a]ccording to the Declaratory Judgment Act, a

  court may exercise its discretion to issue a declaratory judgment

  . . . in cases where the party seeking the declaratory judgment

  can demonstrate the existence of an actual case or controversy.”

  (R&R at 14 (citing 28 U.S.C. § 2201(a); Cardinal Chem. Co. v.

  Morton Int’l, Inc., 508 U.S. 83, 95 (1993)).)                              The Second Circuit

  has held that a court considering the exercise of its authority

  under the Declaratory Judgment Act must consider “(1) whether the

  judgment will serve a useful purpose in clarifying or settling



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  the legal issues involved” and “(2) whether a judgment would

  finalize the controversy and offer relief from uncertainty.”

  Niagara Mohawk Power Corp. v. Hudson River-Black River Regulating

  Dist., 673 F.3d 84, 105 (2d Cir. 2012) (citation omitted).            The

  Second Circuit, however, has also noted with approval that other

  circuits have added to these considerations “(1) whether the

  proposed remedy is being used merely for ‘procedural fencing’ or

  a ‘race to res judicata’; (2) whether the use of a declaratory

  judgment would increase friction between sovereign legal systems

  or improperly encroach on the domain of a state or foreign court;

  and (3) whether there is a better or more effective remedy.”

  Chevron Corp. v. Camacho Naranjo, 667 F.3d 232, 245 (2d Cir.

  2012).   Lastly, the United States Supreme Court has cautioned

  that

             Ordinarily it would be uneconomical as well
             as vexatious for a federal court to proceed
             in a declaratory judgment suit where another
             suit is pending in a state court presenting
             the same issues, not governed by federal law,
             between the same parties. Gratuitous
             interference with the orderly and
             comprehensive disposition of a state court
             litigation should be avoided.

  Brillhart v. Excess Ins. Co., 316 U.S. 491, 495 (1942); see also

  Wilton v. Seven Falls Co., 515 U.S. 277, 282 (1995); Travelers

  Ins. Co. v. Carpenter, 411 F.3d 323, 338 (2d Cir. 2005) (“The

  Brillhart abstention doctrine allows a district court in its

  discretion to abstain from rendering a declaratory judgment when



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  the questions in controversy between the parties to the federal

  suit . . . can better be settled in the proceeding pending in the

  state court.” (internal quotations omitted)).

             Each of the individual unpaid claims which makeup the

  $204,021.50 declaratory judgment that plaintiffs seek either has

  been or is currently the subject of several dozen lawsuits filed

  by Li-Elle against plaintiffs in New York Civil Court, Bronx, New

  York, Kings, and Queens Counties.        (See ECF No. 11-3, “Litigation

  Run”, Decl. of Jennifer Fogarty Ex. 3.)        Many, if not all, of

  these state court actions appear to predate the commencement of

  this federal action, and all of them, like this action, involve

  questions of New York state contract law.         (See id.)    Further, it

  is unclear whether all of the state actions listed by plaintiffs

  are still ongoing as of this date.        Therefore, there is a danger

  that the issuance of a declaratory judgment by this court would

  “encroach on the domain” of the New York state courts, and aid

  the federal plaintiffs in a “race to res judicata.”           Chevron

  Corp., 667 F.3d at 245.

             In light of these dangers, as well as the Supreme

  Court’s admonition that district courts not issue declaratory

  judgments when there is a parallel state court action regarding

  the same issues, the court hereby denies plaintiffs’ motion for a

  declaratory judgment without prejudice to renew upon a more

  detailed description of the status and procedural posture of the



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  New York Civil Court actions.

                                  CONCLUSION

             The court finds that judgment should be entered in

  favor of plaintiffs and against defendant Li-Elle as follows:

  (1) $262,213.04 in compensatory damages; (2) $100,347.47 in

  prejudgment interest, plus $64.65 per day between today, March 6,

  2013, and the date of the Clerk of Court’s entry of final

  judgment; and (3) plaintiffs’ request for a declaratory judgment

  that plaintiffs are not obligated to pay the outstanding unpaid

  claims to defendant Li-Elle in the amount of $204,021.50 is

  denied without prejudice to renew.        Plaintiffs are directed to

  file a status letter via ECF no later than March 13, 2013

  indicating whether they intend to re-file their motion for a

  declaratory judgment or withdraw the claim for a declaratory

  judgment, and whether a judgment on the fraud and unjust

  enrichment claims should be entered.         The court will hold in

  abeyance the entry of a monetary judgment on the fraud and unjust

  enrichment claims pending receipt of plaintiffs’ status letter on

  March 13, 2013.

             Plaintiffs’ counsel is directed to serve a copy of this

  order upon defendant Li-Elle at the corporation’s address on




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  record with the New York Secretary of State, 86-44 121st Street,

  Richmond Hill, NY 11418, and to file proof of service on the

  docket no later than March 7, 2013.


  SO ORDERED.


  Dated:    March 6, 2013
            Brooklyn, New York
                                           _______ _/s/
                                           Kiyo A. Matsumoto
                                           United States District Judge




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